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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        KHALID WARDAK,
                                   7                                                      Case No. 25-cv-04150-DMR
                                                       Plaintiff,
                                   8
                                                v.                                        SUA SPONTE JUDICIAL REFERRAL
                                   9                                                      FOR PURPOSES OF DETERMINING
                                        SUSAN RAUFER, et al.,                             RELATIONSHIP OF CASES
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On May 14, 2025, this case was transferred to the Northern District of California from the

                                  14   Eastern District of Pennsylvania. Pursuant to Civil Local Rule 3-12(c), the court sua sponte refers

                                  15   this case to Judge Jon S. Tigar to determine whether it is related to Ahmed v. DHS, Case No. 4:23-

                                  16   cv-01892.

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                                  18          IT IS SO ORDERED.

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                                  20   Dated: May 15, 2025

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                                  22                                                                Donna M. Ryu
                                                                                                 Chief Magistrate Judge
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